Case 19-34054-sgj11 Doc 1423 Filed 11/18/20                     Entered 11/18/20 14:20:37              Page 1 of 4




PACHULSKI STANG ZIEHL & JONES LLP
Jeffrey N. Pomerantz (CA Bar No.143717) (admitted pro hac vice)
Ira D. Kharasch (CA Bar No. 109084) (admitted pro hac vice)
John A. Morris (NY Bar No. 2405397) (admitted pro hac vice)
Gregory V. Demo (NY Bar 5371992) (admitted pro hac vice)
10100 Santa Monica Blvd., 13th Floor
Los Angeles, CA 90067
Telephone: (310) 277-6910
Facsimile: (310) 201-0760

HAYWARD & ASSOCIATES PLLC
Melissa S. Hayward
Texas Bar No. 24044908
MHayward@HaywardFirm.com
Zachery Z. Annable
Texas Bar No. 24053075
ZAnnable@HaywardFirm.com
10501 N. Central Expy, Ste. 106
Dallas, Texas 75231
Tel: (972) 755-7100
Fax: (972) 755-7110

Counsel for the Debtor and Debtor-in-Possession


                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

In re:                                                           § Chapter 11
                                                                 §
HIGHLAND CAPITAL MANAGEMENT, L.P.,1                              § Case No. 19-34054-sgj11
                                                                 §
                                    Debtor.                      §
                                                                 §

           DEBTOR’S AMENDED WITNESS AND EXHIBIT LIST WITH
         RESPECT TO DEBTOR’S OBJECTION TO PATRICK HAGAMAN
          DAUGHERTY’s MOTION FOR TEMPORARY ALLOWANCE OF
     CLAIM FOR VOTING PURPOSES PURSUANT TO BANKRUPTCY RULE 3018

         Highland Capital Management, L.P. (the “Debtor”) submits the following Amended

Witness and Exhibit List with Respect to Debtor’s Objection to Patrick Hagaman Daugherty’s

1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


AMENDED WITNESS AND EXHIBIT LIST FOR HEARING ON NOVEMBER 17, 2020                                       PAGE 1 OF 4
Case 19-34054-sgj11 Doc 1423 Filed 11/18/20         Entered 11/18/20 14:20:37        Page 2 of 4




Motion for Temporary Allowance of Claim for Voting Purposes Pursuant to Bankruptcy Rule

3018, which the Court has set for hearing at 1:30 p.m. (Central Time) on November 17, 2020, in

the above-styled bankruptcy case (the “Bankruptcy Case”).

       A.     Witnesses:

              1.     Patrick Hagaman Daugherty

              2.     James Seery, Jr.

              3.     Any witness identified by or called by any other party; and

              4.     Any witness necessary for rebuttal.

       B.     Exhibits:

 No.                                Exhibit                                Offered     Admitted

         Declaration of John A. Morris in Support of Debtor’s
         Objection to Patrick Hagaman Daugherty Motion for
  A.     Temporary Allowance of Claim for Voting Purposes Pursuant
         to Bankruptcy Rule 3018, and exhibits annexed thereto
         [Docket No. 1350]
         HERA Amended and Restated Limited Liability Company
  B.
         Agreement
         HERA Second Amended and Restated Limited Liability
  C.
         Company Agreement
         1st Amendment to HERA Second Amended and Restated
  D.
         Limited Liability Company Agreement
         2nd Amendment to HERA Second Amended and Restated
  E.
         Limited Liability Company Agreement
         3rd Amendment to HERA Second Amended and Restated
  F.
         Limited Liability Company Agreement
         Board Resolutions Approving Transfer and 3rd Amendment to
  G.     HERA Second Amended and Restated Limited Liability
         Company Agreement
         HERA Member Consents Approving Transfer and 3rd
  H.     Amendment to HERA Second Amended and Restated Limited
         Liability Company Agreement

  I.     Highland Capital Management, L.P. 2004 K-1



AMENDED WITNESS AND EXHIBIT LIST FOR HEARING ON NOVEMBER 17, 2020                    PAGE 2 OF 4
Case 19-34054-sgj11 Doc 1423 Filed 11/18/20          Entered 11/18/20 14:20:37        Page 3 of 4




 No.                                 Exhibit                                Offered     Admitted


  J.     Highland Capital Management, L.P. 2005 K-1


  K.     Highland Capital Management, L.P. 2006 K-1


  L.     Highland Capital Management, L.P. 2007 K-1


  M.     Highland Capital Management, L.P. 2008 K-1


  N.     Highland Capital Management, L.P. 2009 K-1


  O.     Highland Capital Management, L.P. 2010 K-1


  P.     Highland Capital Management, L.P. 2011 K-1


  Q.     Transcript of Deposition Patrick H. Daugherty (June 14, 2013)


  R.     Verified Complaint (Daugherty v. HCMLP)


  S.     Motion to Dismiss Verified Complaint

         Opening Brief in Support of Motion to Dismiss Verified
  T.
         Complaint
         Patrick Daugherty’s Answering Brief in Opposition to
  U.
         Defendants’ Motion to Dismiss
         Order Granting, in Part, and Denying, in Part, Defendants’
  V.
         Motion to Dismiss
         Any document entered or filed in the Bankruptcy Case,
  W.
         including any exhibits thereto

 X-1     Secretary’s Certificate dated August 4, 2009

         Signed lists of officers of Strand Advisors Inc. for years 2006-
 X-2
         2011




AMENDED WITNESS AND EXHIBIT LIST FOR HEARING ON NOVEMBER 17, 2020                     PAGE 3 OF 4
Case 19-34054-sgj11 Doc 1423 Filed 11/18/20           Entered 11/18/20 14:20:37        Page 4 of 4




 No.                                 Exhibit                                 Offered     Admitted

         All exhibits identified by or offered by any other party at the
  Y.
         hearing



Dated: November 18, 2020.                  PACHULSKI STANG ZIEHL & JONES LLP

                                           Jeffrey N. Pomerantz (CA Bar No.143717)
                                           Ira D. Kharasch (CA Bar No. 109084)
                                           John A. Morris (NY Bar No. 2405397)
                                           Gregory V. Demo (NY Bar 5371992)
                                           10100 Santa Monica Blvd., 13th Floor
                                           Los Angeles, CA 90067
                                           Telephone: (310) 277-6910
                                           Facsimile: (310) 201-0760
                                           E-mail:    jpomerantz@pszjlaw.com
                                                      ikharasch@pszjlaw.com
                                                      jmorris@pszjlaw.com
                                                      gdemo@pszjlaw.com

                                           -and-

                                           HAYWARD & ASSOCIATES PLLC

                                           /s/ Zachery Z. Annable
                                           Melissa S. Hayward
                                           Texas Bar No. 24044908
                                           MHayward@HaywardFirm.com
                                           Zachery Z. Annable
                                           Texas Bar No. 24053075
                                           ZAnnable@HaywardFirm.com
                                           10501 N. Central Expy, Ste. 106
                                           Dallas, Texas 75231
                                           Tel: (972) 755-7100
                                           Fax: (972) 755-7110

                                           Counsel and Proposed Counsel for the Debtor and
                                           Debtor-in-Possession




AMENDED WITNESS AND EXHIBIT LIST FOR HEARING ON NOVEMBER 17, 2020                      PAGE 4 OF 4
